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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division



 KIRA(US)IN
                     Plaintiff,
                                                           Civil Action No. l:23-cv-919(MSN/WEF)
       V.



 KENNAN SAMMAN and DEEPJUDGE AG,
                     Defendants.



                                               ORDER


       This matter comes before the Court on the parties' Stipulation of Dismissal Pursuant to

Federal Rule of Civil Procedure 41(a)(l)(A)(ii).(Dkt. No. 63). It is hereby
                I

                I


       ORDERED that this action, including all causes of action asserted in Plaintiffs Complaint

and Amended Complaint,
              1
                       is DISMISSED WITH PREJUDICE.

       It is SO ORDERED.


       The Clerk is directed to close this civil action.

                                                                           /s/
                                                            Michael 8. Nachmanoff
                                                            linitRd States nistrictJudoe
                                                      Hon. Michael S. Nachmanoff
                                                      United States District Judge

Alexandria, Virginia
October Jft_, 2023
